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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

United States of America,

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18-cr-224 (AJN)
Ali Sadr Hashemi Nejad,
ORDER
Defendant.

 

 

ALISON J. NATHAN, District Judge:

On February 10, 2020, the Court held a final pretrial conference in the above-captioned
matter. At that conference, the Court preliminarily resolved several of the parties’ in limine
motions as follows:

1) The Court will conditionally admit the statements of co-conspirators, subject to the
Government establishing its burden through the course of trial, as per United States v.
Geaney, 417 F.2d 1116 (2d Cir. 1969). See Dkt. No. 186 at 11.

2) The Court will admit, on the basis of the Government’s proffer and subject to the
Government establishing its burden pursuant to Geaney where necessary, some examples
of emails and attachments the Government provided as adoptive admissions. The Court
will not preliminarily admit UVN_00016368 and UNV_000163510, for which the
proffers were not sufficient to justify admission. The Court reserves ruling on those two
documents and any other statements not now before the Court. The Government must
identify any documents it intends to offer pursuant to this exception, discuss them with
Sadr, and raise the issue with the Court either the night or morning before the sitting in

which the Government seeks to introduce such documents. See Dkt. No. 186 at 21.

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The Court offers the parties the following guidance with respect to the Government’s
motion to admit certain communications and documents for the non-hearsay purpose of
establishing Sadr’s knowledge of U.S. and other sanctions against Iran and [ranian
entities: documents concerning other countries’ sanctions programs may be relevant, the
Government need not offer additional evidence (beyond receipt) that Sadr read emails to
render them relevant; and emails received at any point during the charged conspiracies
may be relevant to Sadr’s state of mind. Having offered this guidance, the Court reserves
ruling on the motion until individual documents are offered at trial. See Dkt. No. 186 at
28.

The parties have reached an agreement with respect to the admissibility of evidence
demonstrating the process of purchasing St. Kitts and Nevis citizenship. The remaining
disagreement relating to the introduction of testimony about how the purchase of such
citizenship may be used to evade sanctions will be resolved when the Court resolves
Sadr’s motion in limine regarding Mark Dubowitz’s testimony. See Dkt. No. 186 at 29.
The Court denies the motion to preclude the introduction of evidence and cross-
examination or argument regarding the description of the housing project in Venezuela as
“low-income.” See Dkt. No. 186 at 31.

The Court denies in part the motion to preclude the introduction of evidence and cross-
examination or argument regarding whether the victim banks were harmed by Sadr’s
conduct, whether Sadr intended to harm the victim banks, or whether the victim banks
were in any way at fault. Sadr may offer evidence that there was no risk of harm to the
victim banks, and he may also offer evidence that the victim banks were not actually

harmed to the extent that such evidence is probative of the risk of harm. The Court

 
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reserves judgment on the motion with respect to whether Sadr may offer evidence of his
intent, or lack thereof, to harm the victim banks. Finally, the motion is moot with respect
to evidence that the victim banks were at fault, because Sadr will not offer such evidence.
See Dkt. No. 186 at 32.

The Court denies the motion to preclude the introduction of evidence and cross-
examination or argument regarding the so-called “U-Turn” license that was revoked by
the Office of Foreign Assets Control in 2008. See Dkt. No. 186 at 35.

No reference may be made to the Joint Comprehensive Plan of Action in the parties’
opening statements. Should either party seek to elicit any testimony relating to the
JCPOA, it must address it with the opposing party first and raise the issue with the Court
before any mention of the JCPOA is made. Failure to follow this procedure will result in
the Court excluding any testimony referencing the JCPOA. See Dkt. No. 186 at 39.

The terms “shell company” and “front company” may not be used in opening statements.
The Court will await the introduction of evidence at trial before determining whether they
may be used in closing arguments. The Court will not prohibit the parties from

describing an entity as “a front” as opposed to a “front company.” See Dkt, No. 183 at 1.

10) Sadr’s motion to prohibit the Government from calling an FBI overview witness prior to

the admission of any evidence is moot because the Government will not call such a

witness. See Dkt. No. 183 at 4.

11) The motion to prohibit the Government from asking “guilt-assuming” hypothetical

questions of witnesses is denied. However, where necessary, the Government should
make clear in phrasing its questions that assumed facts are in dispute. Furthermore, at

least with respect to fact witnesses, the Government must establish a factual foundation

 
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for an assumed fact. In addition, it may not ask questions that elicit testimony as to the
wrongfulness of Sadr’s actions. See Dkt. No. 183 at 8.

12) The parties agree that Office of Foreign Assets Control Senior Enforcement Officer Ted
Kim may testify to when the applicable sanction laws were enacted, issued or adopted,
and the fact that they were made publicly available; their general content, in a manner
that provides sufficient context for the jury to understand other evidence that will be
introduced at trial; the U-Turn license and its revocation; the system of licensing
administered by OFAC; the Specially Designated Nationals list; designations by OFAC
of relevant individuals and entities as Specially Designated Nationals, and the fact that
such designations are publicly available; the fact that no licenses were provided for the
conduct at issue in this case; and OFAC’s interactions with banks and their regulations
conceining banks. However, Mr. Kim may not testify to the legal requirements of the
applicable regulations, and the jury will not be informed that he is testifying as an expert.
See Dkt. No. 189 at 30.

13) The Government no longer seeks to offer testimony from Mark Dubowitz in the first and
sixth categories of its expert disclosure. Furthermore, the Court concludes that he is not
qualified to offer testimony with respect to the fifth category in its expert disclosure. The
Court reserves judgment with respect to the second, third, and fourth categories, which it
will revisit after the Government submits the detailed proffer the Court requires below.
See Dkt. No. 189 at 23. The Government may not elicit testimony from Mark
Dubowitz—or any of its other witnesses—teferencing terrorism or economic jihad.

14) To the extent any of Mark Dubowitz’s testimony is admitted at trial, Sadr may cross-

examine him concerning the Foundation for Defense of Democracies’ donors. Such

 
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cross-examination must be limited to only donors who are publicly known. See Dt. No.

186 at 40.

The Court also set briefing and pretrial disclosure schedules as follows:

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By February 14, 2020, the Government shall provide Sadr with its witness list and
existing § 3500 material for its experts, bank witnesses, law enforcement witnesses, and
St. Kitts and Nevis citizenship witness, if needed. It shall provide additional § 3500
material related to these witnesses on a rolling basis. By February 20, 2020, the
Government shall provide Sadr with its witness list and § 3500 materials for any other
witnesses, unless it makes an ex parte offer to the Court before that date demonstrating
any safety concerns regarding this disclosure date. It shall provide additional § 3500
material related to these witnesses on a rolling basis.

By February 14, 2020, Sadr shall submit letter briefing addressing the Second Circuit’s
decision in United States v. Lebedev, 932 F.3d 40 (2d Cir. 2019). The Government may
respond by February 18, 2020.

By February 14, 2020, the Government shall provide Sadr with “clean versions” of the
“Sadr documents” on its exhibit list that it pulls from the native files. These “clean
versions” must be identical to their corresponding versions in the Government’s May
2018 production. The Government must also provide Sadr with a Bates number cross-
reference that matches documents in the May 2018 production to their corresponding
“clean versions.” By February 18, 2020, the Government shall complete the same
process for the “non-Sadr documents” on its exhibit list. Also by February 18, 2020,
Sadr shall make any objections he has to the “clean versions” of these documents and the

Bates number cross-reference.

 
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Dated: February [4 , 2020 \

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By February 18, 2020, the Government shall make a specific proffer to Sadr regarding
Mark Dubowitz’s testimony. By February 20, 2020, Sadr shall restate his continuing
objections to this testimony, if any, with specificity.

By February 24, 2020, Sadr shall produce any remaining reciprocal discovery to satisfy
his obligations under Rule 16 of the Federal Rules of Criminal Procedure.

By February 24, 2020, Sadr shall provide the Government with his expert disclosures.
By February 26, 2020, Sadr shall provide the Government with his witness list, defense
exhibits, and Rule 26.2 material. He shall provide additional Rule 26.2 material related
to defense witnesses on a rolling basis.

By February 27, 2020, the parties shall submit an agreed-upon description of the case
and a list of any names or entities that may be referenced for the voir dire, as well as the

names of anyone who will be present at counsel table during trial.

Finally, at the February 10 conference, the parties expressed disagreement over whether

the transactions charged in the Indictment would have been legal prior to the repeal of the U-
Turn license. They are directed to meet and confer to see if they can reach a resolution with
respect to how information related to this issue will be presented to the jury. If they are able to
reach a resolution, they shall submit their agreed-upon proposal by February 20, 2020; if they

are unable to do so, they shall submit simultaneous letter briefing by that date.

SO ORDERED.

     

New York, New York ~ 4

ALISON J. NATHAN
United States District Judge

 
